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   On behalf of JULIO A. CASTILLO, Clerk of the District of Columbia Court of Appeals,
                    the District of Columbia Bar does hereby certify that



                      Catherine B Sevcenko
       was duly qualified and admitted on November 14, 2003 as an attorney and counselor entitled to
                     practice before this Court; and is, on the date indicated below, a(n)
                               ACTIVE member in good standing of this Bar.




                                                                           In Testimony Whereof,
                                                                       I have hereunto subscribed my
                                                                       name and affixed the seal of this
                                                                            Court at the City of
                                                                       Washington, D.C., on April 22,
                                                                                    2022.




                                                                             JULIO A. CASTILLO
                                                                               Clerk of the Court




                                                                   Issued By:
                                                                            District of Columbia Bar Membership




 For questions or concerns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
                                     memberservices@dcbar.org.
